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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SFBVC, LLC,                                       Case No. 22-cv-04289-JSC
                                                           Plaintiff,
                                   8
                                                                                           PRETRIAL ORDER NO. 4
                                                 v.
                                   9

                                  10     SCOTTSDALE INSURANCE COMPANY,
                                                           Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Following the March 11, 2025 further case management conference, the Court ORDERS

                                  14   as follows:

                                  15      1. Motions for summary judgment will be heard on May 1, 2025 at 10:00 a.m. in person.

                                  16      2. The pretrial conference will be held July 3, 2025 at 2:00 p.m. in person.

                                  17      3. Daubert motions are not included in each party’s limit of five motions in limine.

                                  18      4. Daubert motions (a separate motion for each expert) shall be briefed according to the

                                  19          following schedule:

                                  20                 •   Daubert motions:                         May 22, 2025

                                  21                 •   Oppositions:                             June 5, 2025

                                  22                 •   Replies:                                 June 12, 2025

                                  23          The Daubert motions will be heard at the pretrial conference.

                                  24          IT IS SO ORDERED.

                                  25   Dated: March 11, 2025

                                  26
                                                                                                  JACQUELINE SCOTT CORLEY
                                  27                                                              United States District Judge
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